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                                                                                                            FILED
                                                                                              TARRANT COUNTY
                                                                                             3/15/2017 9:09:55 AM
                                                  342-290992-17                              THOMAS A. WILDER
                               CAUSE NO.                                                        DISTRICT CLERK



BRANDY SHEFFIELD                                                         IN THE DISTRICT COURT


V.                                                                              JUDICIAL DISTRICT


ALLSTATE VEHICLE AND PROPERTY
INSURANCE COMPANY                                                     TARRANT COUNTY, I OCAS


                              PLAINTIFF'S ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

        Plaintiff BRANDY SHEFFIELD, files this Original Petition against ALLSTATE

VEHICLE AND PROPERTY INSURANCE COMPANY ("ALLSTATE" or the "INSURANCE

DEFENDANT"), and in support thereof, would show as follows:

                                          I.
                             DISCOVERY CONTROL PLAN LEVEL

        Plaintiff intends for discovery to be conducted under Level 3 of Rule 190 of the Texas Rules

of Civil Procedure. This case involves complex issues and will require extensive discovery. Therefore,

Plaintiff will ask the Court to order that discovery be conducted in accordance with a discovery control

plan tailored to the particular circumstances of this suit.


                                      PARTIES AND SERVICE

        Plaintiff resides in Tarrant County, Texas.

        Defendant ALLSTATE is in the business of insurance in the State of Texas. The insurance

business done by INSURANCE DEFENDANT in Texas includes, but is not limited to, the

following:




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       •       The making and issuing of contracts of insurance with the Plaintiff;

       •       The taking or receiving of application for insurance, including the Plaintiff's
               application for insurance;

       •       The receiving or collection of premiums, commissions, membership fees,
               assessments, dues or other consideration for any insurance or any part thereof,
               including any such consideration or payments from the Plaintiff; and

       •       The issuance or delivery of contracts of insurance to residents of this state or a
               person authorized to do business in this state, including the Plaintiff.

       This defendant may be served with personal process, by its registered agent, CT Corporation

System, 1999 Bryan Street, Suite 900, Dallas, Texas 75201, or wherever else he may be found.

                                            III.
                                 JURISDICTION AND VENUE

       Venue is appropriate in Tarrant County, Texas because all or part of the conduct giving

rise to the causes of action were committed in Tarrant County, Texas and the Plaintiff and property

which is the subject of this suit are located in Tarrant County, Texas.

       Accordingly, venue is proper pursuant to Texas Civil Practice & Remedies Code §15.002.

                                               IV.
                                              FACTS

       Plaintiff is the owner of a Texas Homeowner's Insurance Policy (hereinafter referred to

as "the Policy"), which was issued by INSURANCE DEFENDANT.

       Plaintiff owns the insured property, which is specifically located at, 3506 Swafford,

Arlington, Texas 76015, (hereinafter referred to as "the Property").

       INSURANCE DEFENDANT sold the Policy insuring the Property to Plaintiff.

       During the terms of said Policy, on or about March 17, 2016 under Policy No.

829537926 and Claim No. 0414088344, Plaintiff sustained covered losses in the form of wind

and/or hail damage and damages resulting therefrom, and Plaintiff timely reported same




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pursuant to the terms of the Policy. Plaintiff asked that INSURANCE DEFENDANT cover the

cost of repairs to the Property pursuant to the Policy. INSURANCE DEFENDANT failed to

conduct a full, fair and adequate investigation of Plaintiff's covered damages.

        As detailed in the paragraphs below, INSURANCE DEFENDANT wrongfully denied

Plaintiff's claim for repairs to the Property, even though the Policy provided coverage for

losses such as those suffered by Plaintiff. Furthermore, INSURANCE DEFENDANT failed

to pay Plaintiff's claim by not providing full coverage for the damages sustained by Plaintiff.

        To date, INSURANCE DEFENDANT continues to delay in the payment for the damages

to the Property.

        INSURANCE DEFENDANT failed to perform its contractual duty to adequately

compensate Plaintiff under the terms of their Policy. Specifically, INSURANCE

DEFENDANT refused to pay the full proceeds of the Policy after conducting an outcome-

oriented investigation, although due demand was made for proceeds to be paid in an amount

sufficient to cover the damaged property, and all conditions precedent to recovery under the Policy

have been carried out and accomplished by Plaintiff. INSURANCE DEFENDANT'S conduct

constitutes a breach of the insurance contract between it and Plaintiff.

       Pleading further, INSURANCE DEFENDANT misrepresented to Plaintiff that the

damage to the Property was not covered under the Policy, even though the damage was caused

by a covered occurrence. INSURANCE DEFENDANT'S conduct constitutes a violation of

the Texas Insurance Code, Unfair Settlement Practices. TEX. INS. CODE §541.060(a)(1).

       INSURANCE DEFENDANT failed to make an attempt to settle Plaintiff's claim in a

fair manner, although it was aware of its liability to Plaintiff under the Policy. Its conduct

constitutes a violation of the Texas Insurance Code, Unfair Settlement Practices. TEX. INS.




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CODE §541.060(a)(2)(A).

       INSURANCE DEFENDANT failed to explain to Plaintiff any valid reason for its coverage

denial and offer of an inadequate settlement. Specifically, it failed to offer Plaintiff full

compensation, without any valid explanation why full payment was not being made. Furthermore,

INSURANCE DEFENDANT did not communicate that any future settlements or payments would

be forthcoming to pay for the entire loss covered under the Policy, nor did it provide any explanation

for the failure to adequately settle Plaintiff's claim. INSURANCE DEFENDANT conduct is a

violation of the Texas Insurance Code, Unfair Settlement Practices. TEX. INS. CODE §541.060(a)(3).

       INSURANCE DEFENDANT failed to meet its obligations under the Texas Insurance Code

regarding timely acknowledging Plaintiff's claim, beginning an investigation of Plaintiff's

claim, and requesting all information reasonably necessary to investigate Plaintiff's claim within

the statutorily mandated time of receiving notice of Plaintiff's claim. Its conduct constitutes

a violation of the Texas Insurance Code, Prompt Payment of Claims. TEX. INS. CODE §542.055.

       Further, INSURANCE DEFENDANT failed to accept or deny Plaintiff's full and

entire claim within the statutorily mandated time of receiving all necessary information. Its

conduct constitutes a violation of the Texas Insurance Code, Prompt Payment of Claims.

TEX. INS. CODE §542.056.

       INSURANCE DEFENDANT failed to meet its obligations under the Texas Insurance Code

regarding payment of claims without delay. Specifically, it has delayed full payment of

Plaintiff's claim and, to date, Plaintiff has not received full payment for the claim. Its conduct

constitutes a violation of the Texas Insurance Code, Prompt Payment of Claims. TEX. INS.

CODE §542.058.




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        From and after the time Plaintiff's claim was presented to INSURANCE

DEFENDANT, its liability to pay the full claim in accordance with the terms of the Policy was

reasonably clear. However, it has refused to pay Plaintiff in full, despite there being no basis

whatsoever upon which a reasonable insurance company would have relied to deny the full

payment. INSURANCE DEFENDANT'S conduct constitutes a breach of the common law duty

of good faith and fair dealing.

        Additionally, INSURANCE DEFENDANT knowingly or recklessly made false

representations, as described above, as to material facts and/or knowingly concealed all or part of

material information from Plaintiff.

        Because of INSURANCE DEFENDANT'S wrongful acts and omissions, Plaintiff

was forced to retain the professional services of the attorney and law firm who is

representing Plaintiff with respect to these causes of action.

                                    V.
              CAUSES OF ACTION AGAINST INSURANCE DEFENDANT

A.      BREACH OF CONTRACT

        INSURANCE DEFENDANT'S conduct constitutes a breach of the insurance contract

between it and Plaintiff. Defendant's failure and/or refusal, as described above, to pay Plaintiff

adequate compensation as it is obligated to do under the terms of the Policy in question, and

under the laws of the State of Texas, constitutes a breach of the insurance contract with

Plaintiff.

B.      NONCOMPLIANCE WITH TEXAS INSURANCE CODE:

        1.     UNFAIR SETTLEMENT PRACTICES

        INSURANCE DEFENDANT'S conduct constitutes multiple violations of the Texas

Insurance Code, Unfair Settlement Practices: TX. INS. CODE §541.060(a). All violations under this



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article are made actionable by TEX. INS. CODE §541.151.

       INSURANCE DEFENDANT'S unfair settlement practice, as described above, of

misrepresenting to Plaintiff material facts relating to the coverage at issue, constitutes an unfair

method of competition and an unfair and deceptive act or practice in the business of insurance.

TEX. INS. CODE §541.060(a)(1).

       INSURANCE DEFENDANT'S unfair settlement practice, as described above, of

failing to attempt in good faith to effectuate a prompt, fair, and equitable settlement of the claim,

even though its liability under the Policy was reasonably clear, constitutes an unfair method of

competition and an unfair and deceptive act or practice in the business of insurance. TEX. INS.

CODE §541.060(a)(2)(A).

       INSURANCE DEFENDANT'S unfair settlement practice, as described above, of

refusing to pay Plaintiffs claim without conducting a reasonable investigation, constitutes an

unfair method of competition and an unfair and deceptive act or practice in the business of

insurance. TEX. INS. CODE §541.060(a)(7).

       2.      THE PROMPT PAYMENT OF CLAIMS

       INSURANCE DEFENDANT'S conduct constitutes multiple violations of the Texas

Insurance Code, Prompt Payment of Claims. All violations made under this article are made

actionable by TEX. INS. CODE §542.060.

       INSURANCE DEFENDANT'S failure to acknowledge receipt of Plaintiffs claim,

commence investigation of the claim, and request from Plaintiff all items, statements, and foul's

that it reasonably believed would be required within the applicable time constraints, as

described above, constitutes a non-prompt payment of claims and a violation of ILX. INS. CODE

§542.055.




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        INSURANCE DEFENDANT'S failure to notify Plaintiff in writing of its acceptance or

rejection of the claim within the applicable time constraints constitutes a non-prompt payment

of the claim. TEX. INS. CODE §542.056.

       INSURANCE DEFENDANT'S delay of the payment of Plaintiff's claim following its

receipt of all items, statements, and forms reasonably requested and required, longer than the

amount of time provided for, as described above, constitutes a non-prompt payment of the claim.

TEX. INS. CODE §542.058.

C.     BREACH OF THE DUTY OF GOOD FAITH AND FAIR DEALING

       INSURANCE DEFENDANT'S conduct constitutes a breach of the common law duty of

good faith and fair dealing owed to insureds pursuant to insurance contracts.

       INSURANCE DEFENDANT'S failure, as described above, to adequately and reasonably

investigate and evaluate Plaintiff's claim, although, at that time, it knew or should have known by

the exercise of reasonable diligence that its liability was reasonably clear, constitutes a breach of

the duty of good faith and fair dealing.

                                              VI.
                                           KNOWLEDGE

       Each of the acts described above, together and singularly, was done "knowingly" by

INSURANCE DEFENDANT as that term is used in the Texas Insurance Code, and was a

producing cause of Plaintiff's damages described herein.

                                              VII.
                                            DAMAGES

       Plaintiff would show that all of the aforementioned acts, taken together or singularly,

constitute the proximate and producing causes of the damages sustained by Plaintiff.

       As previously mentioned, the damages caused by the covered losses have not been




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properly addressed or repaired in the months since the loss occurred, causing further damage to the

Property, and causing undue hardship and burden to Plaintiff These damages are a direct result of

INSURANCE DEFENDANT'S mishandling of Plaintiff's claim in violation of the laws set forth

above.

         For breach of contract, Plaintiff is entitled to regain the benefit of the bargain, which

is the amount of the claim, together with attorney's fees.

         For noncompliance with the Texas Insurance Code, Unfair Settlement Practices, Plaintiff

is entitled to actual damages, which include the loss of the benefits that should have been paid

pursuant to the policy, court costs, and attorney's fees. For knowing conduct of the acts described

above, Plaintiff asks for three times the actual damages. TEX. INS. CODE §541.152.

         For noncompliance with the Texas Insurance Code, Prompt Payment of Claims,

Plaintiff is entitled to the amount of Plaintiff's claim, as well as eighteen (18) percent interest per

annum on the amount of such claim as damages, together with attorney's fees. TEX. INS. CODE

§542.060.

         For breach of the common law duty of good faith and fair dealing, Plaintiff is entitled to

compensatory damages, including all forms of loss resulting from the insurer's breach of duty,

such as additional costs, losses due to nonpayment of the amount the insurer owed, and

exemplary damages.

         For the prosecution and collection of this claim, Plaintiff has been compelled to

engage the services of the attorney whose name is subscribed to this pleading. Therefore,

Plaintiff is entitled to recover a sum for the reasonable and necessary services of Plaintiff's

attorney in the preparation and trial of this action, including any appeals to the Court of Appeals

and/or the Supreme Court of Texas.




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                                                VIII.

        In addition, as to any exclusion, condition, or defense pled by INSURANCE

DEFENDANT, Plaintiff would show that:

        The clear and unambiguous language of the policy provides coverage for damage caused

by losses made the basis of Plaintiff's claim, including the cost of access to fix the damages;

        In the alternative, any other construction of the language of the policy is void as against

public policy;

       Any other construction and its use by the INSURANCE DEFENDANT violates the Texas

Insurance Code section 541 et. seq. and is void as against public policy;

       Any other construction is otherwise void as against public policy, illegal, and violates state

law and administrative rule and regulation.

       In the alternative, should the Court find any ambiguity in the policy, the rules of

construction of such policies mandate the construction and interpretation urged by Plaintiff;

       In the alternative, INSURANCE DEFENDANT is judicially, administratively, or equitably

estopped from denying Plaintiff's construction of the policy coverage at issue;

       In the alternative, to the extent that the wording of such policy does not reflect the true

intent of all parties thereto, Plaintiff pleads the doctrine of mutual mistake requiring information.

                                          IX.
                                REQUEST FOR DISCLOSURES

       Pursuant to the Texas Rules of Civil Procedure 194, Plaintiff requests that INSURANCE

DEFENDANT provide the information required in a Request for Disclosure.




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                                  X.
         FIRST REQUEST FOR PRODUCTION TO INSURANCE DEFENDANT

        1) Produce the INSURANCE DEFENDANT's complete claim file (excluding all
           privileged portions) in your possession for Plaintiff's property relating to or arising out
           of any damages caused by the loss for which INSURANCE DEFENDANT opened a
           claim under the Policy. Please produce a privilege log for any portions withheld on a
           claim of privilege.

        2) Produce all non-privileged emails and other forms of communication between
           INSURANCE DEFENDANT, its agents, adjusters, employees, or representatives and
           the adjuster, and/or their agents, adjusters, representatives or employees relating to,
           mentioning, concerning or evidencing the Plaintiff's property which is the subject of
           this suit.

        3) Produce any complete claim file (excluding all privileged portions) in the
           INSURANCE DEFENDANT's possession for the Plaintiff/insured and/or for the
           Plaintiff's property as listed in the Plaintiff's Original Petition, relating to or arising
           out of any claim for damages which INSURANCE DEFENDANT opened a claim
           under any policy. Please produce a privilege log for any portions withheld on a claim
           of privilege.


                                                 XI.

       As required by Rule 47(b), Texas Rules of Civil Procedure, Plaintiff's counsel states that

the damages sought are in an amount within the jurisdictional limits of this Court. As required by

Rule 47(c), Texas Rules of Civil Procedure, Plaintiff's counsel states that Plaintiff seeks monetary

relief, the maximum of which is over $100,000 but not more than $200,000. The amount of

monetary relief actually awarded, however, will ultimately be determined by a jury. Plaintiff also

seeks pre-judgment and post-judgment interest at the highest legal rate.

                                               XII.
                                             PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiff requests that INSURANCE

DEFENDANT be cited to appear and answer herein; that, on final hearing, Plaintiff have judgment

against INSURANCE DEFENDANT for an amount, deemed to be just and fair by the jury, which

will be a sum within the jurisdictional limits of this Court; for costs of suit; for interest on the


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judgment; for pre-judgment interest; and, for such other and further relief, in law or in equity, either

 general or special, including the non-monetary relief of declaratory judgment against the

 INSURANCE DEFENDANT, to which Plaintiff may be justly entitled.

                                       Respectfully submitted,

                                       KET I ERMAN ROWLAND & WES I LUND
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                                       San Antonio, Texas 78232
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                         PLAINTIFF REQUESTS A TRIAL BY JURY




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